Case 1:17-cv-24615-RNS Document 1 Entered on FLSD Docket 12/19/2017 Page 1 of 13



                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

  CONTRABAND SPORTS, LLC,                             §
  a Florida Limited Liability Company,                § Civil Action No.:
                                                      §
                  Plaintiff,                          §
                                                      §
  v.                                                  §
                                                      § JURY TRIAL DEMANDED
   FIT FOUR, LLC, a Utah                              §
   Limited Liability Company,                         §
                                                      §
                  Defendant.                          §
                                                      §


                                           COMPLAINT

          Plaintiff, Contraband Sports, LLC (“Contraband”), by and through undersigned attorneys,

  hereby seeks declaratory judgement that Contraband is not infringing any valid patent rights

  owned by Defendant Fit Four LLC. (“Fit Four” or “Defendant”) by its sale of its Contraband

  Lifting Gloves. The need for such relief exists because Fit Four has wrongfully accused

  Contraband of patent infringement and has filed several Notices of Intellectual Property Rights

  Violation on popular e-commerce website <amazon.com> resulting in the removal of several

  Contraband Lifting Gloves listings and content, which prevents Contraband from selling its

  products.

                                  PRELIMINARY STATEMENT

          1.      Contraband is a premier designer and manufacturer of workout products,

       including its popular “Pink Label” and “Black Label” gloves used by both men and women

       bodybuilders, powerlifters, Mixed Martial Artists, and Cross Fit Athletes. Contraband has

       filed several patent and trademark applications with the United States Patent and Trademark

                                                  1
Case 1:17-cv-24615-RNS Document 1 Entered on FLSD Docket 12/19/2017 Page 2 of 13



     Office (collectively, “Contraband Intellectual Property”). In 2015, Contraband introduced its

     “CONTRABAND PINK LABEL 5537 WOMEN MICRO LIFTING GLOVES” (“Micro

     Glove”), a glove which features grip-lock padding around the palm region and an adjustable

     strap. See Exhibit A. Micro Gloves are offered in a variety of colors and sizes including

     extra small, small, medium, and large for $15 per pair. Since their creation in 2015, the

     Micro Gloves quickly gained popularity on Amazon and was recognized as an “Amazon’s

     Choice” award winner based on its superior ratings and value. Reviewers have rated Micro

     Gloves a 4.4/5-star award leading to over 1000 sales in the last year.

        2.      In response to the popularity of the Micro Gloves, Fit Four sent a threatening

     email on October 2, 2017 wrongfully accusing Contraband of infringing its design patent

     based its sale of the Micro Glove. See Exhibit B.

        3.      Contraband promptly responded to Fit Four’s threatening email denying any

     infringement and providing points of distinction between the glove designs. See Exhibit C.

        4.      On November 21, 2017, attorneys for Fit Four filed a Notice of Intellectual

     Property Rights Violation with Amazon’s Seller Performance Team alleging patent

     infringement by Contraband and resulting in the immediate removal of all extra small black

     Micro Gloves listings, approximately one week before the busiest online shopping day of the

     year (i.e., Cyber Monday). See Exhibit D.

        5.      Later on November 21, 2017, counsel for Contraband identified several

     differences between the products upon which Defendant had submitted its Notice of

     Intellectual Property Rights Violation and U.S. Design Patent No. D652,607 upon which

     Defendants based its claims, and demanded that the wrongful Amazon Notices be retracted.

     See Exhibits E and F. In the Defendant’s response on November 22, 2017, they denied
                                                  2
Case 1:17-cv-24615-RNS Document 1 Entered on FLSD Docket 12/19/2017 Page 3 of 13



     Contraband’s request and provided a description of products which does not match the Micro

     Gloves against which the Notices were filed. See Exhibit G.

          6.       On December 7, 2017, Fit Four filed a second Notice of Intellectual Property

     Rights Violation with Amazon’s Seller Performance Team alleging patent infringement by

     Contraband and resulting in immediate removal of all small pink and black Micro Gloves

     listings, one of Contraband’s top selling products. See Exhibit H.

          7.       On December 19, 2017, attorney for Fit Four filed a third Notice of Intellectual

     Property Rights Violation with Amazon’s Seller Performance Team alleging patent

     infringement by Contraband and resulting in immediate removal of all medium black Micro

     Gloves listings, one of Contraband’s top selling products, during the busy holiday shopping

     season and less that one week before Christmas. See Exhibit I

                                  PROCEDURAL BACKGROUND

     A.         The Parties

          8.       Plaintiff CONTRABAND SPORTS, LLC is a limited liability company organized

     under the laws of Florida, with its principal place of business at 1749 NE Miami Court, Apt.

     213, Miami, Florida 33132.

          9.       Defendant FIT FOUR, LLC is a limited liability company formed under the laws

     of the State of Utah, with its principal places of business at 1065 South 500 # 3, Bountiful,

     Utah 84010.

     B.         Jurisdiction and Venue

          10.      This is a civil action seeking monetary and injunctive relief for declaratory

     judgement under 28 U.S.C. § 2201, federal question under 28 U.S.C. § 1331, Patent Act

     under 28 U.S.C. § 1338, and for substantial and related claims of tortious interference with a
                                                    3
Case 1:17-cv-24615-RNS Document 1 Entered on FLSD Docket 12/19/2017 Page 4 of 13



     contract, unjust enrichment, and unfair and deceptive trade practices under the statutory and

     common laws of the State of Florida. The matter in controversy, exclusive of interest and

     costs, exceeds the sum or value of seventy-five thousand dollars ($75,000) and arises under

     the laws of the United States.

        11.     This Court has personal jurisdiction over defendant because Fit Four solicits

     business with parties located in Florida, a substantial part of the events and omissions

     occurred in this district, and the causation of tortious injury within the state by acts or

     omissions outside the state.

        12.     The Court has subject matter jurisdiction pursuant to, 28 U.S.C. §§ 1331 and

     1338(a) and (b) of the federal law claims. This Court has supplemental jurisdiction over

     Contraband’s state law claims pursuant to 28 U.S.C. § 1367(a) because those claims are so

     related to the claims in this action within the Court’s original jurisdiction that they form part

     of the same case or controversy.

        13.     Venue is proper in this district under 28 U.S.C. §§ 1391(b)(1) - (2) and (c) and/or

     §§ 1400(a) and (b).

                 COUNT I: REQUEST FOR DECLARATORY JUDGEMENT
                         CONCERNING U.S. PAT. NO. D652607

        14.     Contraband re-alleges paragraphs 1 through 11 above as if fully set forth herein.

        15.     Contraband is not infringing any valid claim of Fit Four’s U.S. Design Patent No.

     D652,607 (“the ’607 patent”). Fit Four has accused Contraband of infringing claim 1 of the

     ’607 patent. Contraband’s sale of the Micro Glove does not constitute infringement of claim

     1 of the ’607 patent because the Micro Glove, unlike the ’607 Patent, includes, among other

     things and as demonstrated by the side-by-side examples below:

                                                   4
Case 1:17-cv-24615-RNS Document 1 Entered on FLSD Docket 12/19/2017 Page 5 of 13



     an adjustable hook and loop fastening strap on the top surface;

        Contraband Micro Glove:                              ’607 Patent:




     reinforced topside finger/knuckle pads;

        Contraband Micro Glove:                              ’607 Patent:




     integrated padding throughout the palm area;

        Contraband Micro Glove:                              ’607 Patent:




                                                 5
Case 1:17-cv-24615-RNS Document 1 Entered on FLSD Docket 12/19/2017 Page 6 of 13



     a distinct grip-lock padding pattern of silicon rubber beads throughout the bottom surface;

         Contraband Micro Glove:                              ’607 Patent:




     and reinforced grip pads along the bottom-side finger portions, including two elongated grip

     pads that extend beyond the finger hole for the middle two fingers.

         Contraband Micro Glove:                              ’607 Patent:




         16.    Under the circumstances, a judicial declaration is necessary and appropriate at this

     time so that the parties and others may determine their rights and duties under the laws at

     issue.

         17.    Contraband is entitled to a declaratory judgement that it has not infringed claim 1

     of the ’607 patent with the Micro Glove.




                                                  6
Case 1:17-cv-24615-RNS Document 1 Entered on FLSD Docket 12/19/2017 Page 7 of 13



                COUNT II: DECEPTIVE AND UNFAIR TRADE PRACTICES
                            Fla. Stat. §§ 501.203(3), 501.204(1)

        18.     Contraband re-alleges paragraphs 1 through 11 above as if fully set forth herein.

        19.     Contraband alleges that Fit Four has and is currently engaged in deceptive and

     unfair trade practice under sections 501.203(3) and 501.204(1), Florida Statutes (FDUTPA).

        20.     As described above, Defendant has engaged in unfair trade practices by falsely

     filing a Notice of Intellectual Property Rights Violation with Amazon’s Seller Performance

     Team alleging patent infringement by Contraband in order to intentionally interfere with

     Contraband’s online sales during the busiest shopping period of the year.

        21.      Defendant has engaged in false and misleading representations and omissions of

     material fact to Amazon’s Seller Performance Team consumers and has engaged in deceptive

     conduct designed to intentionally interfere with Contraband’s online market and sales.

        22.     Defendant’s false and misleading representations and deceptive conduct are

     material in that they have caused and are likely to cause prospective consumers of the

     Plaintiff’s products to be forced to purchase the Defendant products based on the absence of

     Plaintiff’s product listing on Amazon.

        23.     Defendant has disparaged the goods and services and business reputation of

     Plaintiff through false and misleading representations of material fact by falsely filing a

     fraudulent Notice of Intellectual Property Rights Violation with Amazon’s Seller

     Performance Team in violation of Florida’s Deceptive and Unfair Trade Practices Act,

     Sections 501.203(3) and 501.204(1), Florida Statutes.




                                                   7
Case 1:17-cv-24615-RNS Document 1 Entered on FLSD Docket 12/19/2017 Page 8 of 13



        24.     As a direct and proximate result of such misleading and deceptive conduct, the

     Plaintiff, as well as consumers, have sustained and are likely to continue to sustain damages

     in terms of loss of reputation, customers, and sales.

        25.     Plaintiff has no adequate remedy at law.

        26.     Pursuant to Florida’s Deceptive and Unfair Trade Practices Act §§ 501.207 –

     501.2075, the Plaintiff is entitled to enjoin Defendant’s unlawful conduct as well as obtain

     actual damages, compensatory damages, punitive damages, and attorney’s fees.

                    COUNT III: TORTIOUS INTERFERENCE WITH A
                   CONTRACTUAL AND/OR BUSINESS RELATIONSHIP

        27.     Contraband re-alleges paragraphs 1 through 11 above as if fully set forth herein.

        28.     Contraband had a business relationship, or, alternatively a contractual relationship

     with Amazon.com, whereby Contraband was able to advertise and sell its products through

     Amazon’s website, which is one of the most successful sales enterprises in the world,

     attracting millions of customers every day.

        29.     Contraband has attributed approximately ninety percent of its yearly sales to its

     business relationship with Amazon and its ability to sell products to Amazon’s huge

     customer base.

        30.     Defendant is and has been aware of Contraband’s contractual/business

     relationship with third party Amazon.

        31.     Defendant interfered with Contraband’s contractual/business relationship with

     Amazon by falsely informing Amazon that Contraband was selling products that infringed

     Defendant’s patent, causing Amazon to remove Contraband items from sale on Amazon.



                                                   8
Case 1:17-cv-24615-RNS Document 1 Entered on FLSD Docket 12/19/2017 Page 9 of 13



         32.     As a result of Contraband products being removed from Amazon, Contraband has

     suffered loss of sales, loss of profits, loss of reputation, and potential loss of customers.

         33.     Damage to Contraband will continue to accrue unless or until Defendant’s

     improper conduct is enjoined.

         34.     Contraband has no adequate remedy at law.

                              COUNT IV: UNJUST ENRICHMENT

         35.     Contraband repeats and re-alleges each and every allegation of paragraphs 1

     through 11 as if fully set forth herein.

         36.     Contraband been denied financial compensation from the proceeds of sales as a

     result of Defendant’s fraudulent filing of a Notice of Intellectual Property Rights Violation

     with Amazon’s Seller Performance Team, and have benefitted from Contraband’s inability to

     sell their product on Amazon by selling products to potential customers of Contraband who

     could no longer find Contraband’s products on Amazon. Defendant has received monies that

     unjustly enrich it at Contraband’s expense. This constitutes unjust enrichment under Florida

     common law. The circumstances are such that equity and good conscience require the

     Defendant to disgorge its unjust enrichment in an amount to be proven at trial.

         37.     Contraband requests that in order to facilitate the disgorgement of Defendant’s ill-

     gotten proceeds, this Court impose a constructive trust against the Defendant from its illicit

     profits resulting from Contraband’s inability to sell its products.

                                     COUNT V: LIBEL PER SE

         38.     Contraband repeats and re-alleges each and every allegation of paragraphs 1

     through 11 as if fully set forth herein.


                                                    9
Case 1:17-cv-24615-RNS Document 1 Entered on FLSD Docket 12/19/2017 Page 10 of 13



        39.     The statements by Defendant to Amazon’s Seller Performance Team constitute

     the Florida tort of libel per se because the false and malicious statements accuse Contraband

     of patent infringement and unlawful business practices; Defendant made statements to

     Amazon’s Seller Performance Team in each Notice filed with Amazon in which Defendant

     falsely stated that the Micro Gloves cited therein infringed the ’607 Patent.

        40.     Such false statements made by Defendant about Contraband were stated as though

     they were facts, not opinions, and are attacks on Contraband’s professional character.

        41.     Such false statements were made by Defendant with actual malice and the intent

     to injure Contraband’s reputation, divert business from Contraband, and have caused harm to

     its reputation and business.

        42.     Contraband is presumed to have been damaged by Defendant’s statements and is

     entitled to recover from Defendant actual damages including compensatory, consequential,

     incidental, and punitive damages, together with court costs, and attorney’s fees.

        43.     As a consequence of Defendant’s conduct, Contraband has suffered and will

     continue to suffer damaged reputation and financial loss through loss of business and loss of

     customers until Defendant’s improper conduct is enjoined.

        44.     Contraband has no adequate remedy at law.


                                            DAMAGES

        45.     Contraband repeats and re-alleges each and every allegation of paragraphs 1

     through 11 as if fully set forth herein. Contraband affirmatively pleads and seeks monetary

     relief that in the aggregate exceeds $75,000.




                                                  10
Case 1:17-cv-24615-RNS Document 1 Entered on FLSD Docket 12/19/2017 Page 11 of 13



                                               Jury Demand

         46.     Contraband hereby demands pursuant to Federal Rule of Civil Procedure 38(b) a

     trial by jury on all issues so triable.


                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

  Defendant, and that such judgment includes the following:

         1.      A declaratory judgement that Contraband is not infringing claim 1 of the ’607

     patent with its Micro Glove;

         2.      A permanent injunction enjoining Fit Four from asserting to Amazon or its

     customers or to other third parties, that Contraband’s sales of the Micro Glove constitute

     infringement of Fit Four’s patent rights, including the ’607 patent.

         3.      Fit Four be required to pay Contraband the Defendant’s profits and any costs of

     this action and any damages which the Contraband sustained as a result of Defendant’s

     willful deceptive acts and unfair trade practices, tortious interference, unjust enrichment, and

     libel per se.

         4.      Fit Four be required to pay any exceptional damages under 35 U.S.C. §285.

         5.      Fit Four be required to pay to Plaintiff actual damages against the Defendant on

     the cause of action alleged herein and the recovery of pre-judgment and post-judgement

     interest as allowed by law.

         6.      Fit Four be required to pay the Plaintiff its reasonable attorney’s fees and costs

     incurred in pursuit of this action.

         7.      The Court grants such other and further relief, both general and special, at law or


                                                   11
Case 1:17-cv-24615-RNS Document 1 Entered on FLSD Docket 12/19/2017 Page 12 of 13



     in equity, to which Plaintiff Contraband may be justly entitled.



                                                      Respectfully Submitted,
  Dated: December 19, 2017


                                                 By: /s/ Andrew S. Rapacke
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                                                 12
Case 1:17-cv-24615-RNS Document 1 Entered on FLSD Docket 12/19/2017 Page 13 of 13




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I electronically filed the foregoing document with the Clerk of

  the Court using CM/DE. I also certify that the foregoing document is being served this day on all

  counsel of record or pro se parties identified on the attached service list in the manner specified,

  either via transmission of Notices of Electronic Filing generate by CM/DE or in some other

  authorized manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing on December 19, 2017.

                                                       By: /s/ Andrew S. Rapacke
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                                                  13
